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                  IN THE UNITED STATES DISTRICT COURT

                 FOR THE EASTERN DISTRICT OF CALIFORNIA

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         BEFORE THE HONORABLE MORRISON C. ENGLAND, JR., JUDGE


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   UNITED STATES OF AMERICA,

                  Plaintiff,

   vs.                                        No. 2:12-cr-000184


   DANIEL CHARTRAW,


                  Defendant.

                                       /



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                      REPORTER'S PARTIAL TRANSCRIPT

                          JUDGMENT AND SENTENCE

                         THURSDAY, AUGUST 29, 2013

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 Reported by:            DIANE J. SHEPARD, CSR #6331, RPR



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 1                                   APPEARANCES

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 3               For the Government:

 4
                       BENJAMIN B. WAGNER
 5                     UNITED STATES ATTORNEY
                       501 I Street, Suite 10-100
 6                     Sacramento, California 95814
                       BY: MICHAEL D. ANDERSON
 7                          Assistant U.S. Attorney

 8

 9               For the Defendant:

10                     HEATHER WILLIAMS
                       FEDERAL DEFENDER
11                     801 I Street, Third Floor
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12                     BY: BENJAMIN D. GALLOWAY
                            Assistant Federal Defender
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 1                             SACRAMENTO, CALIFORNIA

 2                            THURSDAY, AUGUST 29, 2013

 3                              PARTIAL TRANSCRIPT

 4                                    ---oOo---

 5                (Begin partial transcript.)

 6                MR. ANDERSON:     Yes, Your Honor.          Some of the victims

 7    have asked that I read victim impact statements, and there are

 8    three of them.     I would like to read those, and then there may

 9    be victims here who would like to address the Court.                    I don't

10    know if people will want to take advantage of that opportunity.

11                THE COURT:     Go ahead.

12                MR. ANDERSON:     (Begin reading):          Dear sir, I make

13    this statement in the hopes that Daniel Chartraw received the

14    maximum penalty for his crime.         I'm identified as G.A. in the

15    Indictment against Mr. Chartraw.         I would like to say how

16    thankful I am that Daniel Chartraw is away from the general

17    public at this time.

18                My experience with Mr. Chartraw, the facts supported

19    in the Indictment, and the long history of fraud that are not

20    listed in the Indictment, but appear in court records in

21    California and other states, all indicate that he is a

22    sociopath and not fit for civilized society.

23                I am a doctor of chiropractic, and I seek to help

24    people every day.       I have a wife and three small children, who

25    I promised to care for.       I worked hard for the money Daniel



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 1    Chartraw took from me and my family.         He lied to us.           He made

 2    false promises he never intended to perform.             He looked my wife

 3    and me in the face and said that he would never do anything to

 4    jeopardize our family while he fully intended to do just that.

 5                 I know I am not alone in this nightmare, but it does

 6    not make me or my family feel any better or minimize the

 7    financial catastrophe he has caused us.          That said, I can also

 8    empathize with the other victims who have been swindled by this

 9    man for what appears to be a timeframe of close to ten years.

10                 I am 47 years old and will now spend a lifetime

11    trying to repair our financial future.          We were stripped of the

12    entirety of our savings, a total of over $112,000, and are

13    finding it difficult to manage the losses.             There is the loss

14    of money, which has caused extreme financial hardship.                 There

15    is the loss in the quality of trust that one can have about

16    people as a whole.       There is a loss of personal confidence and

17    life momentum that causes one to question every decision made

18    after that point.       Both my wife and I have suffered from

19    depression and anxiety, which is affecting our marriage.

20    Suffice it to say, this man has caused suffering on a multitude

21    of levels.

22                 We, my wife, three young boys, and I, feel the

23    effects of Mr. Chartraw's crimes every day in the anxiety

24    surrounding the fact that we will have to work for up to 20

25    more years to regain what we have lost.          My wife had to find



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 1    other employment, which leaves me to reduce hours of my

 2    practice to care for our children while she is away.                 I am

 3    47 years old and have to continue to work at a demanding job

 4    which causes me physical pain.        Retirement at any time before

 5    death seems out of the question.

 6                In addition to all these stresses, we are struggling

 7    to manage the guilt and shame we experience for feeling that we

 8    should have known better.      We admonish ourselves for having

 9    ever fallen for such a con artist and sociopathic personality.

10    Our mistake in trusting Mr. Chartraw is now driving our family

11    apart despite our best efforts to reassure each other that it

12    wasn't our fault.

13                Even though we can now see the long line of people

14    who have been defrauded by this man, including sophisticated

15    investors in New York, we still feel shame, humiliation, and

16    anger for allowing him to pressure us into making the decision

17    to trust him with our life savings.         How can anyone be

18    compensated for this type of pain and suffering?

19                We can hope only Mr. Chartraw spends the maximum

20    amount of time in prison to give him enough of an opportunity

21    to think about the criminality and immorality of his actions.

22    He has stolen time from us.       He should pay in time.

23                Furthermore, I ask that he be forced to pay

24    restitution to his victims as terms of his parole.             If money is

25    the only value he holds, perhaps this will be the most



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 1    effective teaching tool for him to realize the emotional and

 2    financial destruction he has caused.          To allow mercy to this

 3    pathological liar and his cohorts, who actively seek this form

 4    of exploitation of people's goodwill as their means of getting

 5    by in life, is unforgiveable.         At least with his incarceration

 6    a statement will be made that this type of crime will not be

 7    tolerated in polite society.

 8                This man needs to pay in so many ways.            Please make

 9    him serve the maximum time for this charge and not allow for

10    time served.    He has cost us, the victims, so much time,

11    energy, money, and emotional trauma that at the very least he

12    should lose his time in free society. (End reading.)

13                That is signed by the victim, Your Honor.

14                The next statement, (begin reading):           Daniel

15    Chartraw's crime has caused immeasurable pain on my family and

16    loss of months of my time away from my family due to, in part,

17    the direction of -- Daniel Chartraw's direction to meet the

18    precious metals ore in Europe.         It never came.      They sent 252

19    pounds of copper instead.

20                The $1 million loss has triggered countless nights of

21    lack of sleep due to the foreclosure of my house, farm, and

22    income stream.     As my partners relied on my decision with

23    Daniel Chartraw and his partners, facilities, resources, and

24    companies to bait me into purchasing ore that either did not

25    exist or was switched and resold to others.



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 1                 I lost 47 pounds from a 200-pound frame instantly

 2    over this.    My wife has cried countless tears over this.              And

 3    my four children do not understand what kind of man preys over

 4    others with such a callow disregard for others.

 5                 Daniel Chartraw is a criminal and belongs where

 6    criminals belong, in prison with the general population of

 7    criminals.    Let them feed on each other. (End reading.)

 8                 That's also signed by the victim.

 9                 Your Honor, this is the final statement that I'm

10    going to read.

11                 (Begin reading):    This investment to Mr. Chartraw

12    couldn't have happened at a worse time than in 2008.                 I had a

13    change in jobs.     I was remodelling my home.         I had a baby girl.

14    And I experienced the largest decrease in personal income in my

15    career.

16                 A personal friend of mine, Todd, introduced me to

17    Mr. Chartraw with the promise of a lucrative short-term

18    investment in a mining operation.        Mr. Chartraw went to great

19    lengths to assure me that the money that I gave him was going

20    to a viable cause, and that I would be thrilled with the

21    results.

22                 This is how the crime has affected me.          I invested

23    $70,000 that I borrowed from an equity line on my home that was

24    never returned.     I spent approximately $5,000 on collection

25    services and private investigation to locate Mr. Chartraw and



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 1    his wife.    I've paid approximately $7,500 in interest from the

 2    financing money to give to Mr. Chartraw.

 3                I experience emotional distress from the months and

 4    years of trying to track down Mr. Chartraw and experiencing one

 5    false representation after another.          It took me three years to

 6    complete my home because the money I gave to Dan was supposed

 7    to go towards that.      And the ability to afford necessary things

 8    for my newborn daughter was extremely difficult. (End reading.)

 9                That's the final statement to be read, Your Honor.

10                THE COURT:    Thank you.     And did you say you had

11    victims present?

12                MR. ANDERSON:    Maybe the Court could inquire if

13    anybody wants to speak.

14                THE COURT:    Is there anyone who is a victim of this

15    particular case or crime that wishes to speak?

16                It appears that there is no one here in the courtroom

17    that wishes to speak at least.        All right.        Anything further?

18                MR. ANDERSON:    No, Your Honor.

19                (End of partial transcript.)

20                                CERTIFICATION

21                I, Diane J. Shepard, certify that the foregoing is a

22    correct transcript from the record of proceedings in the

23    above-entitled matter.

24                                      /s/ DIANE J. SHEPARD
                                        DIANE J. SHEPARD, CSR #6331, RPR
25                                      Official Court Reporter
                                        United States District Court


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